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                                                  Friday, November 17, 2017



          Via ECF
          The Honorable Malachy E. Mannion

                     RE:    Wiggins v. McAndrew, et al.
                            U.S. District Court – Middle District of Pennsylvania
                            No.: 17-1410

          Your Honor:

                     Kindly be advised our office has been unable to get in contact with Plaintiff.

                     Plaintiff has been non-responsive to all of our attempted communications.

                     Kindly see attached counsel’s investigation (Exhibit A) as to Plaintiff’s whereabouts.

                     If Your Honor requires anything further, do not hesitate to contact us at any time.

                     Thank you.


                                                                  Sincerely,

                                                                  /s/ Matthew B. Weisberg
                                                                  MATTHEW B. WEISBERG

          MBW/hcm
          Cc: Sean P. McDonough, Esq.
